       CASE 0:17-cv-00862-PJS-HB        Doc. 16    Filed 01/30/18    Page 1 of 1



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA




RICHARD GOODSON,                                      Case No. 17‐CV‐0862 (PJS/HB)

                Plaintiff,

v.                                                    ORDER OF DISMISSAL

UNUM LIFE INSURANCE COMPANY
OF AMERICA,

                Defendant.



      Based upon the Stipulation for Dismissal filed by the parties on January 29, 2018

[ECF No. 14],

      IT IS ORDERED that this action is dismissed with prejudice and on the merits,

without costs or disbursements to any party.




Dated: January 30, 2018                        s/Patrick J. Schiltz
                                               Patrick J. Schiltz
                                               United States District Judge
